Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 1 of 14




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  AKARI JOHNSON and
  HAZEL THOMPSON,
                                                                CASE NO.: 4:24-CV-10017-JEM
                 Plaintiffs,

  v.

  MMI 82, LLC, and
  THE ENTHUSIAST LLC,

              Defendants.
  ________________________/

                      PLAINTIFFS’ MOTION FOR SANCTIONS
               BASED ON THE DEFENDANTS’ SPOLIATION OF EVIDENCE

                                        I. INTRODUCTION

         Plaintiffs, AKARI JOHNSON (“Plaintiff Johnson”) and HAZEL THOMPSON (“Plaintiff

  Thompson”) (collectively herein “Plaintiffs”), through their undersigned counsel and pursuant to

  Fed. R. Civ. P. 37, Local Rule 7.1, and other applicable rules and laws, requests the Court to impose

  spoliation sanctions against Defendants MMI 82, LLC (“Defendant MMI”) and THE

  ENTHUSIAST LLC (“Defendant ENTHUSIAST”) (collectively “Defendants”), based on the

  intentional destruction of records that Federal law required them to maintain and preserve. The

  records that Defendants were required to make and keep included timesheets and payroll records.

  Defendants destroyed those records, notwithstanding the requirement to maintain and preserve

  them, hindering Plaintiffs’ ability to prove their claims. Considering the recordkeeping

  requirements, the impact on this case, and the Defendants’ bad faith, Plaintiffs seek the Court

  appropriately sanction the Defendants.




                                                   1
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 2 of 14




                           II. FACTUAL AND PROCEDURAL HISTORY

             1.    Defendants are each owned by Oneil Khosa (“Khosa”).

             2.    At all times material to this action, Defendants collectively run and operate a hotel

  named Casa Morada.

             3.    Defendant MMI identified Khosa as the owner of Defendant MMI. See Exhibit A

  at p. 3.

             4.    Defendant MMI employed Aileen Gonzalez (“Gonzalez”) as General Manager of

  Defendant MMI from approximately 2016 through early 2024. See Exhibit B at ¶ 6.

             5.    Defendant MMI employed Daniella Rodriguez (“Rodriguez”) as General Manager

  from approximately early 2024 through the Summer of 2024. See Exhibit C at ¶ 6.

             6.    Throughout Plaintiffs’ employment, Defendants “maintained timesheets by using a

  clock that employees could ‘punch in’ and ‘punch out’ with.” See Exhibit B at ¶ 19.

             7.    Gonzalez used these timesheets to calculate employee hours and documented those

  hours onto a spreadsheet, which was stored on a company laptop for Defendants. Id.

             8.    Gonzalez informed Khosa where the spreadsheets with employee hour information

  was kept, and she further informed Khosa how to access the spreadsheets. Id.

             9.    In response to Plaintiff Thompson’s written discovery request for Defendants to

  produce all timesheets/punchcards, shift schedules, and payroll records, Defendants each replied,

  “None.” See Exhibit D at pp. 6-7 (response to request for production number 18) and Exhibit E at

  p. 6 (response to request for production number 18).

             10.   In response to Plaintiff Johnson’s written discovery request for Defendant

  ENTHUSIAST to produce all timesheets/punchcards, shift schedules, and payroll records,




                                                     2
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 3 of 14




  Defendant ENTHUSIAST replied, “None.” See Exhibit F at p. 6 (response to request for

  production number 18).

         11.     In response to Plaintiff Johnson’s written discovery request for Defendant MMI to

  produce all timesheets/punchcards, shift schedules, and payroll records, Defendant MMI produced

  DEF 000013 – DEF 000017. See Exhibit G.

         12.     Defendants produced the extent of the records they maintain as to Plaintiffs’

  timesheets/punchcards, shift schedules, and payroll records, totaling eleven (11) timecards for

  Plaintiff Johnson that cover approximately thirty (30) total days of work, and zero (0) timesheets

  for Plaintiff Thompson. See Exhibit G. Defendants further produced somewhat illegible checks

  they issued to Plaintiffs without any accounting of payment. See Exhibit H.

         13.     Plaintiffs were employed by Defendants for over seven (7) months.

         14.     On or around January 21, 2025, Rodriguez signed a declaration stating that “[i]n

  early 2024, the United States Department of Labor (“DOL”) investigated Casa Morada. I was

  responsible for interacting with the DOL investigator, but Oneil made sure he approved all of my

  email communications before I sent them. During this investigation, Oneil instructed me to make

  key files, including paychecks, paystubs, and other financial records, ‘disappear,’ as if ‘there was

  a hurricane that destroyed them.’ Oneil asked me to destroy key financial records even though I

  was not comfortable doing so. I had no choice but to follow Oneil’s orders and destroy some of

  these key documents.” See Exhibit C at ¶ 18.

         15.     Importantly, in or around January 25, 2024, and January 31, 2024, Plaintiffs’

  counsel respectively sent Defendant MMI and Defendant ENTHUSIAST a claim letter that

  included a section explaining Defendants’ “obligation to preserve all records,” in anticipation of




                                                   3
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 4 of 14




  litigation, including a specific notice to Defendants that “it is also your obligation to preserve all

  pay records as well as any other records relating to our client.” See Exhibits I and J.

         16.     Defendants’ production confirmed the DOL investigation began in or around April

  of 2024, several months after Plaintiffs’ counsel issued claim letters to each Defendant. See Exhibit

  K.

         17.     Nonetheless, Rodriguez explained that Khosa ordered her to destroy key financial

  records during the DOL investigation which was initiated after Plaintiffs’ counsel notified

  Defendants of pending litigation. See Exhibit C at ¶ 18.

         18.     After Rodriguez’s employment with Defendants ended, Defendants hired Valerie

  Frapp (“Frapp”) as the interim General Manager for Casa Morada.

         19.     At Frapp’s deposition on February 26, 2025, Frapp testified that when she first

  arrived to Casa Morada, she found a majority of the documents stored in the file cabinets to be

  water-damaged, as if a storm had destroyed the documents.

         20.     Frapp’s testimony confirms Rodriguez’s statements that records had been

  destroyed.

         21.     Although Frapp does not have personal knowledge as to how these records came to

  be destroyed via water damage, her testimony supports Rodriguez’s claims that Khosa ordered

  Rodriguez to make the documents “‘disappear,’ as if ‘there was a hurricane that destroyed them.’”

  See Exhibit C at ¶ 18.

         22.     To date, Defendants have produced eleven (11) timecards for Plaintiff Johnson that

  minimally reflect the hours worked during his employment, and have not produced a single

  document reflecting the hours Ms. Thompson worked during her employment.




                                                    4
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 5 of 14




         23.     To date, as indicated by the deposition testimony of Khosa and Frapp, Defendants

  do not have any knowledge of where Plaintiffs’ complete set of timesheets/punchcards, shift

  schedules, and payroll records are stored, located or maintained.

                                       III. LEGAL STANDARD

     A. The FLSA Requires Employers To Make And Maintain Records.

         As Defendants have not denied being an FLSA-covered employer operating in the State of

  Florida, Defendants possessed a duty under the FLSA to maintain timekeeping and payroll records

  which they destroyed. As long held by the U.S. Supreme Court and codified by the FLSA, “it is

  the employer who has the duty under ... the Act to keep proper records of wages, hours and other

  conditions and practices of employment and who is in the position to know and to produce the

  most probative facts concerning the nature and amount of work perform.” Anderson v. Mt. Clemens

  Pottery Co., 328 U.S. 680, 687 (1946); see 29 C.F.R. § 552.110(a). For a minimum of three years,

  every FLSA employer must maintain and preserve records of the “total hours worked each week

  by the employee for the employer[.]” 29 C.F.R. § 552.110(a). These records may be kept in any

  form so long as this information is properly recorded. Id.

         Defendants, therefore, possessed a duty under the FLSA to maintain these records for a

  minimum of three years.

     B. The Court Properly Sanctions Parties Who Destroy Evidence In Bad Faith.

         “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve

  property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.

  Baja Marine Corp., 310 Fed. Appx. 298, 301 (11th Cir. 2009) (quoting West v. Goodyear Tire C

  Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999)). The Court possesses “broad discretion” to impose

  sanctions for spoliation, which is derived “from the court’s inherent power to manage its own

  affairs and to achieve the orderly and expeditious disposition of cases.” Flury v. Daimler Chrysler


                                                    5
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 6 of 14




  Corp., 427 F.3d 939, 944 (11th Cir. 2005). “[S]anctions for discovery abuses are intended to

  prevent unfair prejudice to litigants and to insure the integrity of the discovery process.” Id.

         The Eleventh Circuit Court of Appeal summarized the law relating to the imposition of the

  sanction of an adverse inference in Tesoriero v. Carnival Corp., 965 F.3d 1170, 1184 (11th Cir.

  2020), as follows:

         Spoliation is “defined as the destruction of evidence or the significant and
         meaningful alteration of a document or instrument.” Green Leaf Nursery v. E.I. DuPont De
         Nemours C Co., 341 F.3d 1292, 1308 (11th Cir. 2003) (quotation marks and citation
         omitted). In some circumstances, a party's “spoliation of critical evidence may
         warrant the imposition of sanctions.” Flury v. Daimler Chrysler Corp., 427 F.3d 939,
         945 (11th Cir. 2005). Because spoliation is an evidentiary matter, “federal law
         governs the imposition of spoliation sanctions.” Id. at 944. Sanctions for spoliation
         may include “(1) dismissal of the case; (2) exclusion of expert testimony; or (3) a
         jury instruction on spoliation of evidence which raises a presumption against the
         spoliator.” Id. at 945.

         When deciding whether to impose sanctions, a number of factors are relevant: “(1)
         whether the party seeking sanctions was prejudiced as a result of the destruction of
         evidence and whether any prejudice could be cured, (2) the practical importance of
         the evidence, (3) whether the spoliating party acted in bad faith, and (4) the
         potential for abuse if sanctions are not imposed.” ML Healthcare Servs., LLC v. Publix
         Super Mkts., Inc., 881 F.3d 1293, 1307 (11th Cir. 2018) (citing Flury, 427 F.3d at 945).

         Spoliation sanctions—and in particular adverse inferences—cannot be imposed for
         negligently losing or destroying evidence. Indeed, “an adverse inference is drawn
         from a party's failure to preserve evidence only when the absence of that evidence is
         predicated on bad faith.” Bashir v. Amtrak, 119 F.3d 929, 931 (11th Cir. 1997). And
         bad faith “in the context of spoliation, generally means destruction for the purpose
         of hiding adverse evidence.” Guzman v. Jones, 804 F.3d 707, 713 (5th Cir. 2015). This
         consideration is key in evaluating bad faith because the party's reason for destroying
         evidence is what justifies sanctions (or a lack thereof).

         Sanctions for the destruction of evidence must be “in bad faith” and not simply negligent.

  Foulke v. Weller, 2024 WL 2761778, at *12 (11th Cir. May 29, 2024). The Court can then

  determine the type of sanctions to impose based on the conduct at issue:

         Available sanctions include, but are not limited to, the following: default judgment,
         adverse inference or rebuttable presumption instructions to the jury, striking
         pleadings, and an award of fees and costs incurred by the injured party as a result



                                                    6
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 7 of 14




         of the spoliation. Citing Flury, 427 F.3d at 945. Factors to be considered when
         determining the seriousness of the sanctions to impose against a party for failure to
         preserve critical evidence in its custody vary according to (1) the willfulness or bad
         faith of the party responsible for the loss or destruction of the evidence; (2) the
         degree of prejudice sustained by the opposing party; and (3) what is required to cure
         the prejudice.” St. Cyr v. Flying J. Inc., 2007 WL 1716365, at *4 (M.D. Fla. June 12,
         2007).

  Kelley v. TaxPrep1, Inc, 2015 WL 12839254 at *2 (M.D. Fla. July 27, 2015).

                                           IV. ARGUMENT

         Plaintiffs request the Court to strike Defendants’ pleadings, specifically as to the FLSA

  claims, as a sanction for destroying records Federal law required them to maintain and preserve,

  adversely impacting Plaintiffs’ ability to prove the days and times they worked, the duties they

  performed for Defendants, and the damages to which they are entitled to recover from Defendants’

  failure to pay Plaintiffs unpaid and overtime wages required by the FLSA. The Court has the

  discretion in sanctioning the Defendants to award sanctions ranging from striking their pleadings

  specifically as to the FLSA claims to imposing an adverse inference. If the Court is not inclined to

  strike the Defendants’ pleadings, then it should at the very least impose an irrefutable presumption

  against the Defendants for the jury to deem certain facts admitted and established in favor of the

  Plaintiffs, after considering Defendants’ bad faith conduct in intentionally destroying key financial

  records, and the impact on Plaintiffs’ ability to present their claims.

     A. The Court Properly Determines That Sanctions Are Appropriate.

         As owners, operators, and administrators of Casa Morada, the Defendants were obligated

  to make and maintain records relating to the days and times Plaintiffs worked, the duties they

  performed, and payroll records resulting from their employment with Defendants, including but

  not limited to the key financial documents they destroyed. The evidence in this case is that although

  Defendants made and/or kept the FLSA-required documentation, they intentionally destroyed




                                                    7
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 8 of 14




  them in contravention of Federal law. Based on the record evidence, Plaintiffs carry the burden of

  showing:

           that evidence once existed ‘that could fairly be supposed to have been material to the
           proof or defense of a claim at issue in the case;’ that the Defendant engaged in an
           affirmative act causing the evidence to be lost; that it did so while it knew or should
           have known of its duty to preserve the evidence; and that ‘the affirmative act causing
           the loss cannot be credibly explained as not involving bad faith by the reason
           proffered by the spoliator.

  Schultze v. 2K Clevelander, LLC, 17-CV-22684, 2018 WL 4859071, at *10 (S.D. Fla. Oct. 4, 2018)

  (sanctioning the defendant for its bad faith in destroying evidence).

     i.       The Missing Evidence Was Crucial To Proving Plaintiffs’ FLSA Case.

           Defendants documented the days and times when Plaintiffs worked, and they required

  Plaintiffs to document the times they started and stopped work or the days they worked. Plaintiffs’

  timesheets and payroll records associated with their timesheets were drafted by the General

  Managers for Defendants. From these records, Plaintiffs could have better determined the dates

  they worked for Defendants, an approximation of the hours they worked each day/shift, and

  provided the jury with documentation confirming that their job duties included less-favorable tasks

  as Plaintiffs testified to at deposition. The timesheets and payroll records, as the sole documentary

  evidence that would conclusively establish the dates when Plaintiffs worked, and which would

  establish that they were at work at certain times – day and night – and part of their job duties,

  would have been the most critical evidence for Plaintiffs’ FLSA claims.

     ii.      Defendants Acted In Bad Faith By Destroying The Evidence.

           Defendants admit through the deposition testimony of their owner/CEO, Oneil Khosa, that

  the timesheets and payroll records existed at one time. Gonzalez, the former General Manager for

  Defendants during Plaintiffs’ employment, declared under penalty of perjury that she maintained

  timesheets and records for Plaintiffs that she stored on a company computer and informed Khosa



                                                     8
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 9 of 14




  where they were and how to access them. See Exhibit B at ¶ 19. Rodriguez, the former General

  Manager for Defendants subsequent to Plaintiffs’ employment, declared under penalty of perjury

  that Khosa demanded she destroy key financial records during a Department of Labor

  investigation, and that she took affirmative steps to destroy these documents. See Exhibit C at ¶

  18. Defendants’ conduct in destroying perhaps the only evidence of the dates and times worked by

  Plaintiffs constitutes bad faith given that: (i) the records were material to Plaintiffs’ ability to prove

  their damages under the FLSA and to Defendants’ ability to substantiate their defense that Plaintiffs

  did not work as often as they claim; (ii) Defendants’ prior general manager, Rodriguez, conceded

  to having destroyed the records, which a current employee for Defendants, Frapp, testified she

  found destroyed; (iii) Defendants were under a duty to preserve these documents under the claim

  letters issued to them by Plaintiffs’ counsel and pursuant to the Department of Labor’s

  communications informing them of a pending investigation; and (iv) there is no credible

  explanation for Defendants’ destruction of their employees’ records, and they have proffered no

  reason for the same.

          In Austrum v. Fed. Cleaning Contractors, Inc., 149 F. Supp. 3d 1343 (S.D. Fla. 2016), the

  Court analyzed the type of bad faith necessary to support the imposition of an adverse inference

  based on the spoliation of evidence. The Court in Austrum recognized that employers covered by

  Title VII of the Civil Rights Act of 1964 were required to preserve employment applications for

  designated periods of time under 29 C.F.R. §1602.14, that the defendant failed to comply by not

  preserving the plaintiff’s employment application, and that the defendant’s practice was to not

  preserve employment applications notwithstanding the requirements imposed by §1602.14. Id. The

  Court decided to impose sanctions against the defendant in by finding it acted “in bad faith” and

  granting the plaintiff’s request for an adverse inference:




                                                      9
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 10 of 14




          Regarding the required “bad faith” factor, the Court finds that Federal acted in bad
          faith as that term is defined in Flury. Federal has no legitimate excuse for having a
          practice of discarding applications that it had a legal obligation to preserve under
          federal regulations. Federal's culpability rises above mere negligence. This is not a
          case where the application was accidentally destroyed while the employer
          otherwise complied with its legal obligations. Instead, the discarding of the
          applications was intentional. Whether intentionally or ignorantly, Federal
          completely disregarded the EEOC’s recordkeeping regulation, which was
          promulgated specifically to ensure that personnel records such as employment
          applications are preserved for employment discrimination litigation. See EEOC v.
          Am. Nat'l Bank, 652 F.2d 1176, 1195 (4th Cir.1981) (“The affirmative obligation
          imposed by s 1602.14(a) to preserve records was clearly designed to protect Title
          VII plaintiffs from an employer's destruction of possibly damaging evidence.”).
          Federal may not have known of Austrum’s claim when it discarded his application,
          but the regulation put Federal on notice of the application’s importance to potential
          employment discrimination litigation and the need to preserve it.

   Austrum, 149 F. Supp. 3d at 1351-52. Here, Defendants similarly acted in bad faith in destroying

   key financial records during this litigation and during a Department of Labor investigation.

      B. The Relief Sought.

          Within the Eleventh Circuit, spoliation sanctions may include varying relief such as

   dismissal of the case, entry of default judgment, exclusion of expert testimony, or “a jury instruction

   on spoliation which raises a presumption against the spoliator.” U.S. EEOC v. GMRI, Inc., No. 15- cv-

   20561, 2017 U.S. Dist. LEXIS 181011, at *62-63 (S.D. Fla. Nov. 1, 2017) (quoting Flury, 427 F.3d

   at 945). In determining the appropriate level of sanctions to be imposed upon a spoliating party,

   “[t]he Court has broad discretion to impose sanctions derived from its inherent power to manage

   its own affairs and to achieve the orderly and expeditious disposition of cases.” Smith v. Sohaan

   Dev., Inc., No. 6:12-cv-1369, 2013 U.S. Dist. LEXIS 150849, at *5 (M.D. Fla. Oct. 1, 2013).

          Within the Eleventh Circuit, courts “frequently enter orders in cases where parties seek

   sanctions, including default judgments or dismissals, for spoliation.” Collar v. Abalux, Inc., No.

   16- cv-20872-Lenard/Goodman, 2018 U.S. Dist. LEXIS 112086, at *36-37 (S.D. Fla. Jul. 5, 2018)

   (citing Atlantic Sea Co., S.A., v. Anais Worldwide Shipping, Inc., No. 08-23079-CIV, 2010 U.S.



                                                     10
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 11 of 14




   Dist. LEXIS 65262, 2010 WL 2346665 (S.D. Fla. June 9, 2010) (Brown, J.); Managed Care Sols.,

   Inc. v. Essent Healthcare, Inc., 736 F. Supp. 2d 1317 (S.D. Fla. 2010) (O’Sullivan, J.); Calixto v.

   Watson Bowman Acme Corp., No. 07-60077-CIV, 2009 U.S. Dist. LEXIS 111659 (S.D. Fla. Nov.

   16, 2009) (Rosenbaum, J.)). “The courts have the inherent power to enter a default judgment as

   punishment for a defendant’s destruction of documents[.]” Id. As the most severe form of sanctions

   for spoliation, default judgment should be entered “when there is a showing of bad faith and lesser

   sanctions will not suffice.” Id. at *7 (citing Flury, 427 F.3d at 944-45; Aldrich v. Roche Biomedical

   Laboratories, 737 So.2d 1124, 1125 (Fla. 5th DCA 1999).

          As discussed above, Defendants acted in bad faith by destroying the only documents

   reflecting the dates and times worked by Plaintiffs, knowing they needed to keep them. They

   maintained a duty as an employer under the FLSA to preserve Plaintiffs’ time and pay records.

   Defendants have not – because they cannot – offer any legitimate explanation for destroying these

   documents despite their duties to Plaintiffs. This bad faith conduct has completely inhibited

   Plaintiffs’ ability to prove their case through documentary evidence and can only be redressed by

   the highest level of spoliation sanctions: striking Defendants’ pleadings as to Plaintiffs’ FLSA

   claims and entry of a default judgment as to Plaintiffs’ FLSA claims in favor of Plaintiffs.

          In the alternative, Plaintiffs request that the Court impose sanctions in the form of an

   adverse inference jury instruction. This type of jury instruction ranges “in differing and ever-

   increasing levels of harshness.” Id. at *63. This Court has defined the varying levels of adverse

   inferences as follows:

          One type results in a jury being instructed that certain facts are deemed admitted
          and must be accepted as true. Another type results in the imposition of a mandatory,
          albeit rebuttable, presumption. A third type permits a jury to presume that the lost
          evidence is relevant and favorable to the innocent party. With this third type of
          adverse inference, the jury also considers the spoliating party’s rebuttal evidence
          and then decides whether to draw an adverse inference.



                                                    11
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 12 of 14




   GMRI, Inc., U.S. Dist. LEXIS 181011, at *63. Here, Plaintiffs seek the first type of adverse

   inference described above – by instructing the jury to shall accept as true facts that Defendants are

   Plaintiffs’ employers (under the FLSA), that Plaintiffs were non-exempt employees, that Plaintiffs

   worked 60-80 hours a week for the Defendants, and that Defendants failed to pay Plaintiffs for

   more than 40 hours of work per week for their work.

          Plaintiff requests that the Court sanction the Defendants by entering a default judgment

   against the Defendants or in the alternative, an adverse inference jury instruction as to the financial

   records destroyed by Defendants, or even an entry of an award of attorney’s fees and costs incurred

   in addressing Defendants’ misconduct – given that: (i) the records existed at one time, as conceded

   by Defendants and Defendants’ former General Managers; (ii) Defendants possessed a statutory

   duty to maintain these documents; (iii) the records would have facilitated Plaintiffs’ ability to prove

   unpaid wages claims as, perhaps, the only documents evidencing the dates and times they worked;

   and (iv) Defendants acted in bad faith by destroying these logs during the litigation and a

   Department of Labor investigation, knowing they should have been kept.

                                             CONCLUSION

          WHEREFORE, Plaintiffs respectfully requests this Court enter an Order meting out the

   appropriate sanctions against Defendants, Defendant MMI and Defendant ENTHUSIAST,

   commensurate with their bad faith conduct in destroying key financial records, the adverse effects

   the destruction of those records has on Plaintiffs’ ability to prove their claims through documentary

   evidence, the requirements imposed on Defendants to make and maintain the records, Defendants’

   knowledge of the requirements imposed on them to keep the records, and Defendants’ ill intentions

   in destroying the records during this litigation and Department of Labor investigation.




                                                     12
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 13 of 14




                                  CERTIFICATE OF CONFERRAL

          Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for all parties have conferred in

   a good faith effort to resolve the issues raised by this motion, and Defendants’ counsel advised that

   they oppose the relief sought herein.



          Dated: Miami, Florida                           DEREK SMITH LAW GROUP, PLLC
                 May 27, 2025,                            Counsel for Plaintiffs


                                                          /s/ Daniel J. Barroukh
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                                                     13
Case 4:24-cv-10017-JEM Document 44 Entered on FLSD Docket 05/27/2025 Page 14 of 14




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing document is being

   served on May 27, 2025, on all counsel of record on the service list below via transmission of

   Notices of Electronic Filing generated by CM/ECF.

                                                            /s/ Daniel J. Barroukh
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                                                14
